
Bay Ridge Air Rights, Inc., Respondent,
againstEdward Marlatt, Appellant.Edward Marlatt, appellant pro se.
Tane Waterman &amp; Wurtzel, P.C., Stewart 
E. Wurtzel, Esq., for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Maria Ressos, J.), entered June 17, 2015. The order denied tenant's motion to vacate a stipulation of settlement in a holdover summary proceeding.




ORDERED that the order is affirmed, without costs.
In this nonprimary-residence holdover proceeding, the parties entered into a stipulation of settlement in which it was agreed, among other things, that landlord would discontinue the proceeding and that tenant would pay landlord $2,400 in attorney's fees. Tenant thereafter moved to vacate the stipulation, arguing, among other things, that he had reconsidered his agreement to pay attorney's fees. By order entered June 17, 2015, the Civil Court denied tenant's motion. 
On appeal, tenant expresses his willingness to pay the stipulated fees but only if landlord removes other charges that it subsequently added to his bill. As tenant shows no basis to set aside the stipulation, and as his brief on appeal refers to matters that are dehors the record, the order is affirmed.
Weston, J.P., Pesce and Aliotta, JJ., concur.
ENTER:Paul Kenny
Chief Clerk
Decision Date: April 07, 2017







